         Case 1:12-cv-11280-DJC Document 337 Filed 03/08/18 Page 1 of 1




                             PATRICK S. SWEENEY
                               2672 Mutchler Road
                                Madison, WI53711

Bacchi v. Massachusetts Mutual
Settlement Administrator
P.O. Box 2004
Chanhassen, MN 55317-2004

Honorable Denise J. Casper                                                      ^       o

c/o Clerk of the Court                                                          S       m
TT .   , o               ^                                                      a_      ^12
United States District Court                                                    oo
                                                                        oo              com
District of Massachusetts                                               I"—'
                                                                        =so
                                                                                s       -n
John Joseph Moakley U.S. Courthouse                                             =       IS
                                                                        OO          '   C*5
One Courthouse Way                                                      '       ^       rn
Suite 2300
Boston, MA 02210

RE: Bacchi v. Massachusetts Mutual Life Insurance Company
    Civil Action No. 12-11280-DJC


Dear Judge Casper and Settlement Administrator:

My name is Patrick S. Sweeney. I was a shareholder in a law firm known at the
time as Sweeney & Sweeney, S.C. The firm is dissolved. I appear individually as
the assignee of assets of that firm.
I had a life insurance policy with Massachusetts Mutual up until 2004 (whichis
within the Class Period). I, however, did not receive any notice of the class action
lawsuit. I would like to inquire what system wps employed by the Defendant and
Settlement Administrator to identify class members as I shouldhave been easy to
find. Please let me know. Please respond to the above address.

I thank you for your attention to this matter.

Sincerely,
s/ Patrick S. Sweeney
